             Case 1:21-cr-00386-TNM Document 60 Filed 09/17/21 Page 1 of 2




                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

        v.                                                      Case No. 21-cr-00386-2TNM

PAULINE BAUER

                                                ******

                               MOTION FOR EMERGENCY BAIL REVIEW


        Pauline Bauer, by her undersigned stand-by counsel, hereby respectfully moves for this

Honorable Court to review its Order of detention pursuant to 18 U.S.C. § 3142(f)(1) based on

changed circumstances. Ms. Bauer has indicated to undersigned counsel that she is willing to

abide by the two conditions that were at issue. First, she is prepared to represent to the Court

that she will contact Pretrial Services on a weekly basis (or on whatever schedule the Court

imposes. Second, she is prepared to represent to the Court that she will allow Pretrial Services to

conduct a virtual home inspection.

        She continues to maintain that she does not wish to sign any documents but she is

prepared to promise the Court that she will abide by these condition.

        Counsel incorporates by reference the arguments previously made in open Court

regarding the reasons why Ms. Bauer’s detention is not appropriate and necessary, and that less

restrictive conditions exist to satisfy the Court that she does not present a risk of flight.

        As Ms. Bauer stated to the Court, she is the sole proprietor of a restaurant in her home

town, which is the source of her income and which employs a number of other persons.

Detention over a weekend presents a financial hardship to herself and to her employees.




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          Case 1:21-cr-00386-TNM Document 60 Filed 09/17/21 Page 2 of 2




       WHEREFORE, Ms. Bauer by her stand-by counsel, respectfully requests that the Court

hold review its Order of Detention this afternoon, or at the earliest possible time.

                                                      Respectfully submitted,

                                                      /s/

                                                      Carmen D. Hernandez
                                                      Bar No. MD 03366
                                                      7166 Mink Hollow Rd
                                                      Highland, MD 20777
                                                      240-472-3391


                                 CERTIFICATE OF SERVICE

      I hereby certify that a copy of the instant Motion was served via ECF this 17th day of
September, 2021 on all counsel of record.


                                                              /s/

                                                      Carmen D. Hernandez




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